             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:12-cr-00020-MR-DLH-6


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                   ORDER
                                )
                                )
GEORGE M. GABLER,               )
                                )
                   Defendant.   )
_______________________________ )


     THIS MATTER is before the Court upon the Defendant’s Motion for

Early Termination of Supervision. [Doc. 479]. The Defendant is represented

by counsel. The motion indicates that while the Defendant’s supervising

probation officer consents to the Defendant’s Motion, counsel for the

Government opposes it. No response in opposition, however, was filed by

the Government.

     In order to terminate a defendant’s term of probation, the Court must

be “satisfied that such action is warranted by the conduct of the defendant

and the interest of justice.”   18 U.S.C. § 3564(c). Upon review of the

Defendant’s motion, the Court is satisfied that the early termination of the

Defendant’s probation is warranted. The Defendant has served over 75% of


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his probationary term and has complied fully with all aspects and conditions

of his supervision. Further, he has completed over 500 hours of community

service and fully paid his $5,000 fine and $100 special assessment. For

these reasons, the Defendant’s motion is granted.

     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

Motion for Early Termination of Supervision [Doc. 479] is GRANTED, and

the Defendant’s term of probation in the above-referenced action is hereby

terminated.

     IT IS SO ORDERED.
                               Signed: January 13, 2017




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